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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

  GREAT CHINA MANIA HOLDINGS,
  INC., a Florida Corporation; HUANG
  JIAN NAN, a nonresident; ZENG ZHI
  JIAN, a nonresident; and TAM KIN
  PONG, a nonresident,

        Plaintiffs,
  v.                                            Case No. 3:12-cv-01042-TJC-TEM
  CMF INVESTMENTS, INC., a Florida
  Corporation; EIGER INVESTMENTS,
  INC., a Foreign Corporation; PRISM
  CAPITAL, INC., a Foreign Corporation;
  and SEO GROUP CONSULTANTS,
  INC.,     a    Foreign   Corporation;
  SCOTTSDALE CAPITAL ADVISORS,
  an Arizona Corporation; ALPINE
  SECURITIES, a Utah Corporation; and
  APEX CLEARING CORPORATION, a
  Texas Corporation,

        Defendants.

                              NOTICE OF SETTLEMENT

          Plaintiffs, GREAT CHINA MANIA HOLDINGS, INC., HUANG JIAN NAN,

  ZENG ZHI JIAN AND TAM KIN PONG, and Defendants, EIGER INVESTMENTS,

  INC., PRISM CAPITAL, INC. AND SEO GROUP CONSULTANTS, INC., notify the

  Court that they have settled this action and are in the process of performance regarding

  the same. Upon performance, the parties shall file a stipulated dismissal with the Court

  as to said parties.
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                                       October 31, 2012

                                       Respectfully Submitted,


                                       /s/ Louis M. Ursini, III_____________
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                                       Counsel for Plaintiffs


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 31 2012, I electronically filed the
  foregoing with the Clerk of the Court by using the CM/ECF system. I further certify that
  the foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via transmission of
  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner
  for those counsel of parties who are not authorized to receive electronically Notices of
  Electronic Filing.


                                               /s/ Louis M. Ursini, III



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